                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION

LEON CAPITAL GROUP, LLC; LG
ACQUISITIONS, LLC; LG CARY ATC
LAND, LLC; and LG JOHN BARRY
DRIVE, LLC;

               Plaintiffs,
                                                   Civil Action No.: 4:18-CV-105
v.

SCHWARZ BETEILIGUNGS-GMBH d/b/a
SCHWARZ GRUPPE; LIDL STIFTUNG &
CO. KG; LIDL US, LLC;
LIDL US OPERATIONS, LLC; and LIDL US
MANAGEMENT, LLC;

                Defendants.


                                          COMPLAINT

       Plaintiffs Leon Capital Group, LLC (“Leon Capital”), LG Acquisitions, LLC (“LG

Acquisitions”), LG Cary ATC Land, LLC (“LG Cary”), and LG John Barry Drive, LLC (“LG

Wilmington”) (collectively, “Leon” or “Plaintiffs”), complaining of Defendants Schwarz

Beteiligungs GmbH d/b/a Schwarz Gruppe (“Schwarz Group”), Lidl Stiftung & Co. KG (“Lidl

Stiftung”), Lidl US, LLC (“Lidl US”), Lidl US Operations, LLC (“Lidl US Ops”), and Lidl US

Management, Inc. (“Lidl Management”) (collectively “Lidl” or “Defendants”), hereby allege and

state as follows:




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                                             NATURE OF ACTION

           This action arises from Lidl’s fraudulent and deceptive conduct and its intentional and

wrongful termination of certain agreements, contracts, and promises with Leon regarding three

real estate development projects in North Carolina located in Cary, Wilmington, and Charlotte.

Lidl agreed to construct and operate a Lidl grocery store to anchor each of the developments;

however, Lidl abruptly terminated its agreements to purchase the real estate parcels from Leon and

reneged on its obligations to construct and operate the stores and repudiated its promises related

to the same. Despite due demand, Lidl refuses to meet its obligations to Leon and other third parties

and seeks to wrongfully leave Leon with substantial financial losses related to the developments.

           These developments were part of Lidl’s larger plan for its entry and rapid expansion into

the lucrative United States grocery market – a market sector forecast to be worth $1.7 trillion by

2022 1. Lidl, having dominated the European discount retail grocery market, set its sights on

entering the US market and gambled that its European model would also dominate here. In early

2016, Lidl publicly announced that it would build hundreds of stores in the eastern US by

2018/2019 – an overly aggressive expansion plan for a new entrant into the market.

           Such an ambitious market entry and expansion plan was destined for failure: to date, Lidl

has only opened around fifty stores out of the hundreds it had on the drawing board. After such a

disappointing launch, Lidl has taken a hatchet to its plans and dramatically scaled back its

expansion. In the wake of this abrupt about-face, Lidl has left real estate developers like Leon

holding the proverbial bag on millions in development costs, which costs were fraudulently

induced by Lidl through a continued and systematic series of lies, misrepresentations, and bad

faith.



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    Source: Institute of Grocery Distribution (IGD) Datacentre

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       In this case, time and again, Plaintiffs, affiliates of Texas based Leon Capital Group,

detrimentally relied on Lidl’s false promises and invested substantial resources and dollars on

major developments on behalf of Lidl - investments for which Lidl deceptively vouched and

promised to pay. All the while, Lidl knew that it would not complete its US expansion plan as it

was represented to Leon and others and Lidl knew, well prior to advising Leon otherwise, that it

would never construct and operate the Lidl stores in the subject developments as agreed.

       Lidl’s malfeasance and deceptive pattern of conduct, detailed herein, pervaded its US

expansion plan and operations and left local property owners, contractors, subcontractors,

architects, engineers, and developers – including the Plaintiffs – as victims of Lidl’s fraud,

deception, and bad faith.

                                           PARTIES

       1.      Leon Capital is a Texas limited liability company, which is registered and

authorized to do business in North Carolina and which maintains an office in North Carolina.

       2.      LG Acquisitions is a Texas limited liability company, which is an affiliate of Leon

Capital.

       3.      LG Cary is a Texas limited liability company, which is an affiliate of Leon Capital.

       4.      LG Wilmington is a Texas limited liability company which is an affiliate of Leon

Capital.

       5.      Upon information and belief, Schwarz Group is a German limited company

(Gesellschaft mit beschränkter Haftung or GmbH) organized and existing under the laws of the

Federal Republic of Germany and having an address at Rötelstraße 30 Neckarsulm, 74172,

Germany.




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       6.      Upon information and belief, Lidl Stiftung is a German limited partnership

(Kommanditgesellschaft or KG) organized and existing under the laws of the Federal Republic of

Germany and having an address at Stiftsbergstraße 1 Neckarsulm, 74167, Germany.

       7.      Upon information and belief, Lidl Stiftung is a wholly-owned and operated

subsidiary of Schwarz Group.

       8.      Upon information and belief, Lidl Stiftung owns and operates the Lidl brand

supermarket chain, based in Neckarsulm, Germany, which has over 10,000 stores globally.

       9.      Upon information and belief, Defendant Lidl US is a Delaware limited liability

company, which has a business address and headquarters at 3500 South Clark Street, Arlington,

Virginia, 22202.

       10.     Upon information and belief, Defendant Lidl US Ops is a Delaware limited liability

company, which has a business address and headquarters at 3500 South Clark Street, Arlington,

Virginia, 22202.

       11.     Upon information and belief, Defendant Lidl Management is a Delaware

corporation, which has a business address and headquarters at 3500 South Clark Street, Arlington,

Virginia, 22202.

       12.     Upon information and belief, Lidl Management is the managing member of both

Lidl US Ops and Lidl US.

                                  JURISDICTION AND VENUE

       13.     Upon information and belief, complete diversity of citizenship exists between the

Plaintiffs and the Defendants, as this action is between citizens of different states and involves a

citizen or subject of a foreign state as an additional party.




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        14.     The amount in controversy, exclusive of interest and costs, exceeds Seventy-Five

Thousand ($75,000.00) Dollars.

        15.     Upon information and belief, therefore, this Court has subject matter jurisdiction

over this matter pursuant to 28 U.S.C.A. § 1332.

        16.     This Court has personal jurisdiction over Defendants because they conduct business

in this judicial district, and the subject matter of this action arises from the actions and omissions

of the Defendants in this judicial district.

        17.     Upon information and belief, venue is proper in this judicial district pursuant to 28

U.S.C.A. §§ 1391 and 1392.

        18.     A substantial part of the events or omissions giving rise to the claims discussed

herein occurred in this judicial district, and two of the properties that are the subject of this action

are situated in this judicial district.

        19.     In addition, Plaintiffs and Defendants have done business and are doing business

within this judicial district, as more fully set forth herein.

        20.     All conditions precedent to filing this action have been performed or have occurred,

including but not limited to that the filing of this action is prior to the expiration of any applicable

deadlines, statutes of limitations, and/or statutes of repose.

                                          GENERAL FACTS

                          A. Lidl’s U.S. Expansion Plan and Background

        21.     Lidl is a German global discount supermarket chain that is Europe’s largest

discount grocery retailer and which dominates its industry sector in many European markets. It is

now apparent that Lidl naively believed that its dominance in Europe could translate to eventual

dominance in the hyper-competitive retail grocery market of the United States of America (“US”).



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       22.     Lidl sought to force its success in the US and crafted an overly ambitious plan to

expand its retail grocery operations into the lucrative US market – which plans included building

hundreds of Lidl-branded discount supermarkets/grocery stores in the United Spaces, with a

specific early emphasis on the Mid-Atlantic area, including North Carolina. Lidl was posed to

compete with long established and well capitalized US grocery giants such as Kroger, Publix,

Whole Foods, Wal-Mart, and other such retailers who were already in the middle of a grocery

price war (the “US expansion plan”).

       23.     By mid-2018, Lidl planned to open at least 100 stores with as many as 50 more to

open in the second half of 2018 and hundreds more in the coming years across the United States.

       24.     Lidl ordered its real estate acquisition managers to quickly acquire not only dozens

of strategic real estate tracts throughout North Carolina, but also hundreds of sites in other US

states. Nearly all Lidl’s selected sites were strategically located near or across from existing or

planned competitor grocery stores.

       25.     As part of its US expansion plan, Lidl approached Leon, through an agent in 2014

and then directly in 2015, and started soliciting Leon to acquire and/or sell real estate parcels and

act as a developer for Lidl grocery store-anchored retail and mixed-use centers in North Carolina.

       26.     Lidl stated to Leon that, as part of its expansion plan, it intended to build Lidl stores

throughout North Carolina, including in Cary, Wilmington, and the Steele Creek area of Charlotte.

Lidl asked Leon to acquire tracts for Lidl in those locations that were identified by Lidl as meeting

its expansion criteria, including being near competitor grocery stores.

       27.     Leon ultimately agreed to act as a developer and acquire the property for three Lidl

grocery store-anchored retail and mixed-use centers in North Carolina which are discussed and




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defined below as the Cary Development, the Wilmington Development, and the Charlotte

Development (the “Developments”).

       28.     Upon information and belief, Lidl, thereafter, knowingly deceived Leon and made

a series of false representations and promises on which Leon detrimentally relied upon in investing

significant resources in the Developments, including on behalf of Lidl, towards which Lidl agreed

to contribute, but which eventually left Leon holding “the bag” of financial losses, liens, claims,

and obligations to multiple contractors.

       29.     Lidl, without cause, wrongly terminated, or repudiated, its agreements with Leon

for each of the Developments on or about the following dates:

               a. Cary: 15 December 2017

               b. Wilmington: 3 November 2017

               c. Charlotte: 4 January 2018.


                B. Lidl’s Business Malfeasance: Fraud or Gross Negligence?

       30.     Based on the actions of Lidl and Leon’s experience with Lidl, Lidl sought to first

tie up hundreds of strategic and high-demand real estate parcels and then determine whether Lidl

stores would be economically viable in those locations. As such, Lidl either undeniably knew or

should have known, in its early planning stages, that it would not close on all of the parcels it

would put under contract for purchase. At the very least, Lidl certainly knew that it would not

close on its purchases in the Developments well before it informed Leon of the same and certainly

well before Leon had invested significant resources on the Developments.

       31.     The facts described herein lead to only two possible conclusions:

               a. Lidl knew it was gambling with its overly ambitious expansion plan and
                  designed an emergency exit constructed on deception and bad faith. In so doing,
                  Lidl wrongly refused to satisfy its liabilities and obligations and, rather,

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                   attempted to transfer full financial liability to Leon and other similarly situated
                   developers and owners; or

               b. Lidl was grossly negligent in the execution of its US expansion plan and
                  committed business malfeasance on an epic scale and then purposefully left
                  innocent third parties with significant economic losses.

       32.     Lidl’s own leadership has all but admitted Lidl’s gross negligence in executing the

US expansion plan: in a January 2018 interview with German magazine Manager Magazin, Lidl’s

CEO Klaus Gehrig described Lidl’s US expansion as a “a singular catastrophe” noting that Lidl

did a “poor job” selecting locations and selected stores that were too big and expensive to be

profitable. Manager Magazin called Lidl’s US expansion a “botched expansion”, a “disaster”, a

“fiasco”, and a “debacle.”

       33.     Lidl, when the following facts are considered, certainly appears to have planned for

the eventuality of terminating related contracts and agreements as it saw fit when the time was

convenient to Lidl and when it could shift, through false representations, financial risk to US-based

local developers, contractors, owners, suppliers, and other third parties:

               a. Upon information and belief, Lidl knowingly acquired more real estate tracts
                  than it could possibly close on and construct/operate stores. Lidl, between 2015
                  and 2017, acquired or entered purchase agreements for approximately 400 US
                  real estate sites, yet by its own admission, only intended to construct around
                  100-150 stores by the end of 2018. In fact, Lidl, as of June 2017, only had one
                  operational US warehouse and distribution center, making it nearly impossible
                  to open stores which were to be spread out between New Jersey in the North to
                  Ohio in the Midwest to Georgia in the South and Texas in the Southwest.

               b. Lidl forced Leon and other owners and developers to use Lidl’s own standard
                  form Purchase and Sale Agreement (“Lidl Form PSA”). Upon information and
                  belief, Lidl purposely drafted ambiguous form contracts on which it intended
                  to rely to terminate, without cause, while avoiding financial liabilities by
                  transferring the same to third parties. Lidl’s Form PSA was neither specifically
                  tailored for a grocery store-anchored multi-use development, nor did it
                  contemplate the necessity of site and infrastructure development as required for
                  the Developments – rather it left such items to be negotiated after signing of the
                  Lidl Form PSA. Upon information and belief, Lidl had purposely written into
                  the PSA ambiguous and subjective terms which it intended to rely upon, and

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                     did rely upon, in terminating its contracts with Leon and other similarly situated
                     parties.

                 c. Lidl, likely knowing it would not close on many of its PSAs, delayed
                    negotiations and execution of necessary agreements regarding cost sharing of
                    site work and infrastructure for the Developments until the planned closing
                    dates, demanding that Leon and others similarly-situated carry such costs until
                    or after closing so that if Lidl chose to terminate, Lidl would not be saddled
                    with these expenses. The Lidl Form PSA required the parties to negotiate and
                    draft a separate Site Development Agreement (“SDA”) 2 during the initial 90-
                    day “Inspection Period”, which SDA would memorialize Lidl’s agreement to
                    pay its pro rata share of the infrastructure and site development work for the
                    Development. Lidl failed and refused to negotiate in good faith and demanded
                    that development work continue without such signing by falsely promising to
                    close on the purchases.

                 d. Lidl, while requesting and receiving closing date extensions based on its false
                    representations, acted to remove mutuality of obligations from agreements with
                    Leon. After signing the PSAs related to the Development, Lidl insisted on the
                    inclusion of a new signature clause in an amendment: “This Amendment shall
                    be enforceable in all respects against Seller upon Seller’s execution and delivery
                    hereof prior to the countersignature by Purchaser.” Lidl stated that the reason
                    was that the company officer who must review and execute was based in
                    Germany and traveled often and was unable to sign for weeks. Lidl actually
                    used this clause to obtain closing date extensions and to convince Leon to
                    continue funding the Developments, so that Lidl would later be able to deny
                    enforceability of the related amendments against it when it failed to close and
                    execute SDAs.

                 e. Lidl used management turnover in its US operations to deny the existence of
                    written and verbal agreements between Lidl and Leon while avoiding signing
                    fully-memorialized contracts related to cost sharing for the Developments.

                 f. In mid to late 2017, upon information and belief, Lidl modified its US
                    expansion plan to only open 20 stores or less in 2018, a fraction of the planned
                    openings for properties under contract, but hid this fact from Leon and others
                    until Lidl abruptly terminated their agreements in November and December
                    2017.

                 g. Lidl misled Leon and others about the performance and success of its US
                    expansion. Lidl, as late as September 2017, was proclaiming, through its US
                    spokesman and other representatives, that Lidl was “delighted” with its US
                    performance and that such performance so far exceeded expectations. This

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  The SDA would set forth the site development work and infrastructure to be completed by Leon, or its affiliates,
based on site plans, engineering, and requirements of governmental entities and Lidl’s pro rata share of the costs
related to the same.

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                   same sentiment and representations were presented to Leon to convince it to
                   continue investing on behalf of Lidl. In actuality, Lidl had only opened 37 stores
                   by that point and Lidl admitted in 2018 that the performance of many of those
                   stores was “frighteningly weak” and that its US expansion plan and operations
                   were a failure.

               h. Lidl after its wrongful termination of the Wilmington Development agreements
                  on 3 November 2017, continued to send written assurances to Leon that it
                  intended to go through with the Cary Development and Charlotte Development.
                  On November 15, 2017, Lidl’s Director of Real Estate wrote to Leon “I am
                  sorry that we could not close on the deal [Wilmington], but we look forward
                  to getting the other deals [Cary and Charlotte] across the finish line.”
                  (emphasis added)

               i. Lidl, in an effort to get Leon to continue its investments after it reneged on
                  Wilmington, told Leon in early December 2017 that Lidl planned to work with
                  Leon on other sites and developments in North Carolina, including in Cornelius.

       34.     At a minimum, Lidl certainly set itself up for failure and was grossly negligent in

its execution of the US expansion plan. In addition to the acts of Lidl set forth in the paragraphs

above, Lidl was further grossly negligent when the following are considered:

               a. As reported by Manager Magazin in its February edition:

                      i.   In identifying places to build new stores, Lidl’s US team didn’t do
                           enough research into the neighborhoods it chose to serve, instead
                           settling for any “plots that were currently available, as long as they were
                           on a busy road,” and German officials “were usually content to look at
                           locations on Google Maps” before okaying the choices.

                    ii.    Lidl US CEO Brendan Proctor, previously CEO of Lidl’s Ireland
                           division, “had no feel for the American market, which is significantly
                           different from Europe.”

                    iii.   Notably, Lidl’s US expansion team was young and unseasoned with an
                           average age in the mid-20s.

                    iv.    Only one warehouse was operational at the time of the first store
                           openings in summer 2017. That meant trucks had to travel for hundreds
                           of miles to stock far-flung stores. Some products were reportedly
                           expired by the time they finally got where they were going, and some
                           products advertised in the sales circular arrived only after the sales were
                           over.



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                    v.    Newly-built stores weren’t equipped with backup generators, leading to
                          embarrassing situations where stores had to close when power was lost
                          during summertime outages.

               b. Lidl planned stores which were 35% larger than their European stores, with
                  high operating costs, and the construction costs per square foot were
                  significantly higher than many competitors, leading to higher overhead and
                  operating losses.

               c. Lidl’s US offices were plagued with high personnel turnover and projects which
                  were quickly falling behind because of turnover, inexperience, and
                  understaffing.

               d. Under the speed with which Lidl was moving with its US expansion, Lidl left
                  its US offices understaffed to properly manage the acquisitions and
                  development and manage the projects Lidl had undertaken.

               e. Lidl underestimated the time it would take to get permits and applicable
                  approvals for its stores, especially in urban markets.

       35.     By 2017, Lidl’s US expansion plan was in total chaos, and Lidl fired its head of US

operations, Daniel Marasch, and replaced him with Michael Aranda – former CEO of Lidl Spain

– to salvage the US expansion plan and stop the bleeding.

       36.     Upon information and belief, Schwarz Group and Lidl Siftung gave Mr. Aranda

marching orders to mitigate Lidl’s damages and liabilities by, inter alia, manufacturing alleged

breaches or defaults and then terminate purchase and sale agreements and other related

development contracts where the resulting losses from claims would be less than the millions that

Lidl stood to lose from opening and operating the stores.

       37.     Upon information and belief, Lidl started utilizing its high personnel turnover to

deny the existence of agreements with Leon that had been reached by prior management and to

renegotiate terms – with new managers claiming that they had no knowledge of the prior

agreement, despite the same being in writing or in meeting minutes.




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        38.      When Leon pushed backed and demanded that Lidl honor its prior agreements,

without more concessions, Lidl soon placed the Developments on the chopping block.




                                        C. Lidl’s Pattern of Conduct

        39.      By late 2017, upon information and belief, Lidl Stiftung and Schwarz Group

ordered Lidl US and Lidl US Ops to postpone store openings, terminate purchase and development

contracts, and halt construction of numerous stores in Texas, 34 Georgia, 5 Ohio, 6 Pennsylvania, 7

Maryland, 8 Virginia, 9 North Carolina 10 and other states, leaving a litany of broken promises,

foreclosures, defaulted contracts, unpaid contractors, and financial hardships for local property

owners, contractors, subcontractors, architects, engineers, and developers.

        40.      Media and industry sources currently report that Lidl may walk away from half of

the sites it had selected with the intent of leaving many more innocent third parties suffering from

significant financial losses.

        41.      Leon’s story is not unusual even in North Carolina - one North Carolina developer

who teamed with Lidl to develop a Lidl-anchored center in Burlington, NC, now faces foreclosure,

judgments, liens, and a litany of claims and lawsuits. 11




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  https://www.houstonchronicle.com/business/retail/article/Is-Lidl-coming-to-Houston-Brokers-not-sure-
12544831.php
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   http://www.star-telegram.com/news/local/community/mansfield-news-mirror/mnm-news/article193912204.html
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  http://lancasteronline.com/business/local_business/lidl-cancels-lincoln-highway-east-store-plan-grocer-s-
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a6d4-0178a5622710.html
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   https://www.newsleader.com/story/news/2017/12/01/lidl-grocery-store-no-longer-coming-staunton/914037001/
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    http://www.charlotteobserver.com/news/business/biz-columns-blogs/whats-in-store/article183059366.html
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       42.     Coupled with the allegations and reports set forth above in Section B, it is evident

that Lidl’s actions exhibit a pattern of conduct rampant in its US operations.

       43.     Leon is just one of many similarly-situated entities that has fallen victim to Lidl’s

pattern of fraud and deception.



                              D. The Lidl-Anchored Developments

                                        Cary Development

       44.     In August 2015, LG Acquisitions, an affiliate of Leon Capital, entered into a

Purchase Agreement dated 11 August 2015 (the “Sears Agreement”) for the purchase of

approximately 20.73 acres located at 4429 NC Highway 55, Cary, North Carolina (the “Cary

Property”). LG Acquisitions subsequently assigned the Sears Agreement to LG Cary.

       45.     Lidl had represented to Leon that it desired to purchase an approximate 4-acre

portion of the Cary Property for the purposes of constructing and operating a 36,000+ sq. ft. Lidl

standalone grocery store. Lidl stated that it was interested in this particular parcel because of its

proximity to a nearby Whole Foods store and a nearby Harris Teeter grocery store and on the basis

that it met its acquisition and development criteria for its US expansion plans.

       46.     Lidl represented to Leon, via numerous verbal assertions and emails, that it would

act as the anchor of the development of a mixed-use center on the Cary Property so long as the

planned development was approved by the Town of Cary.

       47.     On or about 8 September 2015, Lidl US presented a Letter of Intent (the “Cary

LOI”) to Leon regarding the purchase of approximately 4 acres of the Cary Property (the “Cary

Lidl Tract”). Leon signed the Cary LOI on 20 September 2015.

       48.     Notably, the Cary LOI included the following paragraph 12:



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        Purchase and Sale Agreement: The Buyer has a Standard Purchase and Sale
        Agreement which is used in all real estate acquisitions. Given the scale and speed
        of the current acquisitions phase, the Buyer requires the use of this Standard
        Purchase and Sale Agreement in all transactions.

        49.      In the Cary LOI, Lidl agreed to and contemplated, among other things: closing on

the purchase of the Lidl Cary Tract within 30 days of obtaining all applicable approvals and permits

required to operate its business; a 90-day inspection period of due diligence; the use of the Lidl

Form PSA; and, ultimately, “post-closing improvements” to include site development separate and

apart from the purchase of the raw land, including the payment of its pro rata share of Leon’s costs

for its site work for the entire Cary Property.

        50.      Because Lidl demanded that the parties use the Lidl Form PSA, which was meant

primarily for the purchase of raw land, Lidl and Leon, at all times, understood and agreed – and,

indeed, the PSA referenced – that the parties would negotiate and draft a separate Site

Development Agreement (“SDA”) and Reciprocal Easement Agreement (“REA”) 12 and that the

Lidl Form PSA would only cover the actual purchase of the Lidl Cary Tract portion of the Cary

Property. The SDA would set forth the site development work and infrastructure to be completed

by Leon, or its affiliates, based on site plans, engineering, and requirements of governmental

entities and Lidl’s pro rata share of the costs related to the same.

        51.      Lidl, at the last minute before signing the Cary PSA, inserted a $998,627 cap on its

pro rata share of the site work, infrastructure, and other development costs. Leon objected because

it knew such cost share would likely be in excess of this cap, but Lidl represented to Leon that the

actual number would be finalized in the SDA as certain costs were unknown at the time – Lidl



12
  Typically, REAs are used when a property is owned by more than one person or entity, and the persons or entities
wish to develop the property as an integrated retail or mixed-use center. The REA would cover such things as the
construction of the development, the architectural compatibility of the buildings, and the use of the common areas,
access to parking, utilities, and other infrastructure components.

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acknowledged the same in its Exhibit E (site work items list) to the Cary PSA – “THIS LIST IS

NOT COMPLETE, REMAINING ITEMS AND SPECIFICATIONS TO BE PROVIDED BY

LIDL ENGINEER DURING INSPECTION PERIOD.”                         Leon accepted this representation

expecting that the SDA would be modified with the later estimates or actual costs but that did not

occur due to Lidl’s deceptive delay tactics.

       52.     On 29 December 2015, LG Acquisitions, as seller, executed Lidl’s Form PSA for

the Lidl Cary Tract (the “Cary PSA”) and, in turn, on 30 December 2015, Lidl US Management,

on behalf of Lidl US Ops, as buyer, executed the Cary PSA for the Cary Lidl Tract. LG

Acquisitions later assigned the Cary PSA to LG Cary.

       53.     The Cary PSA states, among other things, that Lidl had a 90-day “Inspection

Period” window after Leon delivered the “Due Diligence Items” during which Lidl could terminate

the Cary PSA with or without cause. After expiration of the Inspection Period, the terms in the

PSA provided limited bases under Section 8 from which Lidl could terminate the Cary PSA prior

to the Closing Date.

       54.     The Cary PSA includes a draft site plan that evidenced the development plans for

the Cary Property – the construction of the Lidl store, multi-family residential, and additional retail

and commercial space, the remainder of which Leon intended to develop (the “Cary

Development”).

       55.     On 5 January 2016, Leon delivered to Lidl the Due Diligence Items.

       56.     On 17 March 2016, Lidl’s counsel emailed Leon’s counsel Lidl’s drafts of the

proposed SDA and REA.

       57.     During early 2016, Leon’s engineers and Lidl’s engineers worked together to lay

out the site for the Cary Development based on numerous and various requests and demands of



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Lidl with regards to location, access, parking, and other similar site and infrastructure criteria and

complexities.

        58.     Between March 2016 and October 2016, respective counsel for Lidl and Leon

negotiated and exchanged multiple drafts of the proposed SDA.

        59.     On 19 October 2016, Lidl modified the proposed SDA to include a requirement that

Leon construct a finished pad for the Lidl store – this was an addition to the agreed-upon site work

to be completed by Lidl.

        60.     As a result of Lidl’s new request for a completed pad and other requested changes

to the planned site and its infrastructure, Lidl’s estimated pro rata share of site development costs,

including a finished pad, rose to over $1.6 million.

        61.     Additionally, Lidl required an amendment to the Cary PSA concerning the purchase

of an additional portion of the Cary Property to increase the size of the Lidl Cary Tract to

accommodate Lidl’s access to a stormwater pond.

        62.     Due to Lidl’s requested changes and other factors, the parties executed four separate

amendments to the Cary PSA: First Amendment dated 30 March 2017, Second Amendment dated

31 July 2017, Third Amendment dated 4 October 2017, and Fourth Amendment dated 16

November 2017 (the “Cary PSA Amendments”). The Cary PSA Amendments modified the Cary

PSA to increase the size of the Lidl Cary Tract to 4.839 acres, recognized a finalized site plan, and

scheduled closing of Lidl’s purchase of the Lidl Cary Tract to occur on or before 18 December

2017.

        63.     While the Cary PSA Amendments did not address the increase in the cap on Lidl’s

pro rata costs to be finalized in the SDA, Lidl representatives in several conversations and

correspondence with Leon representatives had previously affirmed that Lidl would agree to an



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increase or removal of the cap to reflect its actual pro rata share once final bids or estimates were

received, including for the finished pad for the Lidl store.

       64.     In reliance on Lidl’s written and verbal representations regarding its intent to close

on the Lidl Cary Tract and construct and operate a Lidl store thereon, on 31 August 2017, Leon

proceeded with its acquisition and closed on its purchase of the Cary Property.

       65.     Over the next few months, Leon and Lidl continued to negotiate terms of the SDA

and REA; however, the parties were delayed in finalizing drafts of the same, in large part, because

of numerous personnel changes at Lidl’s North Carolina office and in Lidl US offices and Lidl’s

failure to fully inform its new personnel about prior negotiations and agreements with Leon.

Additionally, upon information and belief, Schwarz Group and/or Lidl Stiftung orchestrated

purposeful delays to allow them additional time to evaluate their US expansion plans before

closing on related tracts.

       66.     These actions, among others, indicate that Lidl failed and refused to “negotiate in

good faith in an effort” to agree upon a form SDA for the Cary Development prior to the expiration

of the Inspection Period.

       67.     In October, Lidl continued to intentionally lead Leon to believe that it was intent

on closing its purchase and proceeding with the Cary Development. For example, Lidl asked Leon

whether Lidl’s delay in building the Lidl store would affect Leon’s ability to connect the Lidl Cary

Tract to the neighboring Whole Foods-anchored retail center and negatively impact Leon’s

construction and sale of its planned apartments and other parts of the Cary Development.

       68.     On 27 October 2017, Lidl’s counsel emailed drafts of closing documents for the

Cary Property, followed on the 30th by a revised proposed SDA, and finally, on the 31st, emailed




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its proposed Fourth Amendment requesting an extension of the outside closing date from 16

November 2017 to 18 December 2017.

       69.     Even after Lidl backed out of the Wilmington Development, Lidl continued to give

written and verbal assure to Leon that it intended to honor its obligations related to the Cary

Development and Charlotte Development and get those deals “across the finish line.”

       70.     Lidl waited until the closing date of 16 November 2017 to sign the Fourth

Amendment and did not even send Leon a copy of the signed Fourth Amendment until 21

November 2017 after demands for the same from Leon.

       71.     As of 30 November 2017, the parties had agreed to the final material terms of the

REA and SDA, but Lidl continued to delay its signing of both documents.

       72.     As of 5 December 2017, Leon was ready, willing and able to close on its sale of the

Lidl Cary Tract to Lidl as all conditions precedent had been fulfilled under the PSA.

       73.     On 6 December 2017, Lidl requested that Leon grant it another extension on the

closing date, which Leon denied due to, among other things, the stifling and substantial costs and

expenses related to the Cary Development that Leon was carrying and Lidl’s failure and refusal to

honors its obligations related to the Wilmington Development after obtaining multiple extensions.

       74.     After Leon’s denial of the extension, Lidl represented to Leon that it still intended

to close on the 18th – requesting loan payoff information, closing statements, seller information

sheets, and other necessary closing items.

       75.     On 13/14 December 2017, counsel for Leon sent to Lidl the applicable final closing

documents and sent hard copies by FedEx to Lidl and its closing agent on 15 December 2017.

Leon was ready, willing, and able to close on the sale of the Lidl Cary Tract.




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       76.     On 15 December 2017, Lidl, abruptly and without warning to Leon, and in spite of

prior representations to the contrary, terminated the Cary PSA and notified all parties that it did

not intend to close on its purchase of the Lidl Cary Tract. Lidl provided no basis under the Cary

PSA to terminate the same.

       77.     Upon information and belief, Schwarz Gruppe and Lidl Siftung were actively

planning to terminate its agreements in relation to the Cary Development while Lidl’s US entities

were actively seeking extension of closing dates and making the above-described representations

and promises to Leon on which it relied in continuing to expend funds, time, and efforts in

completing its obligations in relation to the Cary Development.

       78.     Lidl’s abrupt termination, without cause, of its agreements with Leon has resulted,

and will continue to result in substantial losses, including lost profits, for Leon in relation to the

Cary Development. Leon must complete the site plan as it was approved and permitted by the

Town of Cary which will include Leon completing the retail, commercial, and multi-family

apartment portions, including all costs related to the same, components of which likely would not

have been included but for Lidl’s verbal and written promises and participation in this

development. The lack of an anchor Lidl grocery store will significantly and negatively impact

rents and/or sales prices for the retail, commercial, and apartments spaces in the Cary

Development. Additionally, Leon will incur significant increases in marketing expenses as well

as carry expenses to mitigate its damages caused by Lidl.

                                    Wilmington Development

       79.     In late 2015 and early 2016, Lidl engaged Leon to develop a Lidl grocery store-

anchored retail and commercial center in Wilmington.




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        80.     Leon worked with Lidl to identify a potential site for the planned Lidl store and

development in Wilmington which would later be known as Arbor Commons (“Wilmington

Development”), and the parties agreed to pursue the acquisition and development of an

approximately 10-acre multi-parcel site known as 807 John D. Barry Drive and located at or near

the intersections of John D. Barry Drive, S. 17th Street, and Peel St. in Wilmington (the

“Wilmington Property”).

        81.     The Wilmington Property is situated adjacent to other retail developments which

are respectively anchored by a Food Lion grocery store and a Publix grocery store. The Publix

was under development in 2015/2016 and opened to the public in August 2016.

        82.     The parties then worked out a potential site plan for the Wilmington Property (the

“Wilmington Site Plan”) which divided said property into three parcels – Parcel A (~1.15 acres),

Parcel B (~2.45 ac.), and Parcel C (~3.86 acres).

        83.     Lidl represented to Leon that it would purchase Parcel C (later increased to 4.06

acres by agreement of the parties) of the Wilmington Property (the “Lidl Wilmington Tract”) and

construct a Lidl store thereon, and agreed and represented to Leon that Leon would have the right

and obligation to develop and market the two remaining tracts of the Wilmington Property. Lidl

understood and represented to Leon that Leon’s development of Parcels B and C with

approximately 10,000 square feet of retail and 45,000 square feet of commercial space was

beneficial to Lidl to create more traffic to its store and part of the consideration for Leon to acquire

the entire Wilmington Property. Lidl knew that the viability of the other retail and commercial

space would be dependent on the construction and operation of the Lidl store as an anchor and

driver of the Wilmington Development.




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       84.    In reliance on Lidl’s representations and promises, Leon worked to assemble the

Wilmington Property, even before an LOI was issued, and to purchase the various parcels for the

Wilmington Development. But for Lidl’s involvement and agreement to anchor the Wilmington

Development, Leon would not have acquired the properties and agreed to develop the same.

       85.    On or about 25 September 2015, LG Acquisitions entered into a purchase and sale

agreement to acquire the Wilmington Property from GWT Properties, LLC.

       86.    On 16 February 2016, Lidl US, through its acquisition manager, executed a Letter

of Intent (“Wilmington LOI”) with regards to the acquisition, purchase, and site development of

Parcel C. Once again, the LOI required that the parties use Lidl’s standard PSA, which had been

prepared by Lidl.

       87.    Lidl used the Lidl Form PSA for the Lidl Wilmington Tract and presented it to

Leon, who executed it on 25 February 2016 and returned it to Lidl, who executed it on 26 February

2016 (the “Wilmington PSA”). The Wilmington PSA mirrored the Cary PSA as it was based on

the same Lidl Form PSA. LG Acquisitions assigned its rights under the Wilmington PSA to LG

Wilmington.

       88.    Lidl included in the Wilmington PSA a preliminary cap of $250,000 in its pro rata

share of site development costs, which was subject to change, and anticipated a full SDA to be

negotiated and executed by the parties based on the same understandings as the Cary Development.

       89.    The Wilmington PSA set an outside closing date of 31 May 2017.

       90.    Subsequently, Lidl and the City of Wilmington required Leon to construct

additional roads and access infrastructure which was not originally contemplated by the parties.

In June 2016, Lidl notified Leon that Lidl required that Leon construct an additional access road

from Peel Street. In August 2016, the City of Wilmington notified Leon that another road, in



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addition to the access road, would have to be built and maintained along the rear of the Wilmington

Property connecting the parallel adjoining city streets.

       91.     The total cost of the Lidl-required site work, including these additions, was

$438,899.21.

       92.     Just like with the Cary Development, Lidl failed and refused to “negotiate in good

faith in an effort” to agree upon a form SDA for the Wilmington Development prior to the

expiration of the Inspection Period.

       93.     Nevertheless, based on Lidl’s written representations and verbal promises that it

would pay the additional costs of this infrastructure improvement which would only serve Lidl’s

store, Leon agreed to construct the additional truck access.

       94.     The City of Wilmington notified Lidl and Leon that it would not approve the

Wilmington Development until the access streets and other site work were completed.

       95.     Leon stated to Lidl that Lidl would need to agree to increase its contribution to

cover these unanticipated infrastructure costs. Leon represented to Lidl that its contribution would

need to increase to approximately $475,000.00. Lidl agreed to cover the increased costs, once the

same were finalized, and told Leon to proceed with the necessary site work and infrastructure

necessary for the City of Wilmington to approve all applicable permits, rezoning, and plans.

       96.     The Wilmington PSA anticipated that most of the site work would be done after

closing and that a separate SDA would be negotiated and executed by the parties.

       97.     In September 2016, Leon requested an amendment to the Wilmington PSA to

reflect the change in circumstances and increase in Lidl’s contribution, but Lidl declined and stated

to Leon that it would take too long for Lidl to get internal approval for such an amendment which

would delay the work from starting; rather, Lidl offered and agreed to include the $475,000



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contribution in the SDA, to be finalized and executed at a later date and stated that the parties

would true up at closing with Lidl paying the $475,000 to Leon.

       98.     Leon, relying on Lidl’s agreement in emails and verbal affirmations to pay its share

of the costs, agreed to proceed with the purchase of the Wilmington Property and the site work

prior to the execution of the SDA or any amendment to the Wilmington PSA.

       99.     On 24 October 2016, Leon closed on its purchase of the Wilmington Property and

proceeded with its work related to the Wilmington Development.

       100.    On 16 February 2017, a Lidl representative, Ashley Peace, confirmed that its

engineers had reviewed the site plans and related site work costs and approved the same and that

Lidl, once again, agreed to pay up to $475,000 for site work and related infrastructure costs.

       101.    In March/April 2017, Lidl US replaced its real estate director assigned to the

Wilmington Development. Turnover in Lidl US had become commonplace, and Leon was forced

each time to reaffirm the prior transactions and agreements between the parties.

       102.    Lidl’s new real estate director, Christopher Kapper, confirmed to Leon that Lidl

had agreed to pay $475,000 and that Lidl preferred that this be included in the SDA rather than in

an amendment to the Wilmington PSA.

       103.    In late April 2017, Lidl requested that Leon agree to an extension of the closing

date because Lidl would be unable to obtain certain permits prior to the May 2017 closing date.

       104.    Upon information and belief, around this time, Schwarz Group and Lidl Stiftung

began to realize that their overly ambitious US expansion plan may not be economically viable

and changes would have to be made, including cancellations of planned projects and developments

and they began to actively consider terminating Lidl’s various agreements with Leon.

Nevertheless, Lidl continued to make promises and representations to Leon to encourage it to



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detrimentally rely on the same and continue spending its time, money, and efforts on the subject

developments.

       105.      Lidl and Leon prepared the First Amendment to the Wilmington PSA and the

parties executed the same in late May/early June. The First Amendment pushed the outside closing

date to 30 September 2017.

       106.      Interestingly, and as a harbinger of things to come, Lidl insisted on the inclusion of

a new signature clause in the First Amendment: “This Amendment shall be enforceable in all

respects against Seller upon Seller’s execution and delivery hereof prior to the countersignature

by Purchaser.”

       107.      Leon originally objected to the inclusion of this signature clause; however, Lidl

falsely assured Leon that it wanted to include the sentence because its new contracts, including

modifications and amendments, must be approved for signature by an official in Germany who

was traveling frequently and taking up to 2+ weeks to sign various agreements. Lidl said it wanted

to avoid further delays and did not want any delay in obtaining its necessary signature to delay

progress on the Wilmington Development, including completion of site work and off-site

infrastructure, or the necessary extension of closing dates by waiting on Lidl to execute,

       108.      Upon information and belief, Lidl actually added this signature clause in an effort

to make it easier for Lidl to back out of agreements as Lidl’s expansion plans and US operations

were falling into disarray, while forcing Leon and other like developers to continue with the

development of projects until Lidl had determined which projects it should cancel.

       109.      On 12 July 2017, at a meeting in the Lidl Raleigh office between the parties to

discuss open issues with the Wilmington Development, Lidl represented to Leon that it was still




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in agreement with regards to raising its pro rata cap to $475,000 and paying the same at or before

closing.

       110.    On 14 July 2017, Lidl Development Manager Christopher (“Chris”) Kapper, sent

an email to Leon stating as follows:

       I agree that we need to pay for our pro-rata on the road as the road was constructed
       to service our delivery trucks. We will need to memorialize the change and have
       contractor back up for the SDA. The SDA will need to include language that the
       Site Development Agreement terms trump the terms of the PSA.

       111.    Later in July, upon information and belief, Lidl Stiftung replaced Chris Kapper with

John Raymond as its developer manager for the Developments. By August, Lidl Stiftung replaced

John Raymond with Andrew Gartrell.

       112.    Lidl’s managers for the Developments were replaced at an unusually high

frequency which led to unnecessary delays and allowed Lidl to alter its promises at will.

       113.     Upon information and belief, Lidl continued posturing in anticipation of canceling

the project and limiting its exposure. After Leon had expended millions of dollars on the

Wilmington Development in reliance on Lidl’s promises, Lidl and its in-house counsel began

denying that it had ever agreed to an increase in its pro rata contribution to $475,000 and that such

was limited to $250,000 per the PSA, despite the numerous emails, meeting minutes, and other

written agreements between the parties which unequivocally stated to the contrary.

       114.    Additionally, Lidl now claimed that Leon was required to provide Lidl with a

finished pad, despite the same not being included in the Wilmington PSA or having been

previously discussed by the parties. Leon provided prior emails and other documents to Lidl

showing that the finished pad was not included in the site work. In fact, Lidl had never provided

pad specification to Leon.




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       115.    On 29 August 2017, Lidl emailed Leon acknowledging that Leon had completed

much of the site work as agreed by the parties and requested that finalized invoices and proof of

expenses and costs be provided.

       116.    By September, Lidl began claiming that, per its survey, over $115,000 worth of dirt

would need to be added to the Lidl Wilmington Tract and demanded that Leon reduced its contract

price by said amount. Leon proved to Lidl that Lidl’s survey used incorrect data and information,

which forced Lidl to drop this claim.

       117.    On 18 September 2017, Lidl requested that Leon grant another extension to the

closing date. Leon agreed to grant an extension so long as Lidl would agree to pay its final

calculated pro rata share of site work and infrastructure costs in the amount of approximately

$438,000.

       118.    On 19 September 2017, Mr. Gartrell, on behalf of Lidl, emailed counsel for Leon

stating that Lidl agreed to pay $438,000+ to Leon on the extended closing date:

       In the interest of moving forward, I’m ready to agree to amend the PSA to include the
       offsite work provided we can get a 30 day extension now. The $438,000 figure you
       provided should be fine as long as the pay apps align with the figures you sent and the tests
       don’t reveal any issues – which I don’t think either of us expect. Can we agree to the 30
       day extension now?

Leon agreed to grant a 30-day extension in reliance on Mr. Gartrell’s email.

       119.    On 21 September 2017, Lidl sent Leon its proposed Second Amendment to the

Wilmington PSA, which changed the closing date to no later than 20 October 2017. Leon revised

the proposed Second Amendment to include, among other things, an acknowledgement by the

parties that “all of the Site Work anticipated by the Agreement [Wilmington PSA] has been

performed” and “Purchaser has agreed that its payment for its pro rata share of the Site Work shall

be in the amount of Four-Hundred Thirty-Eight Thousand Eight Hundred Ninety-Nine and 21/100



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Dollars ($438,899.21).” Leon emailed a copy of this revision to Lidl, and Lidl agreed to the

revisions, in writing.

       120.    Leon signed the Second Amendment on 22 September 2017 and sent to Lidl for

signature.

       121.    On 27 September 2017, counsel for Lidl sent Leon its proposed draft closing

documents and represented to Leon that it intended to move forward with closing on the October

20th closing date agreed to by the parties in the Second Amendment. Counsel for Lidl and Leon

then continued exchanging various revisions and drafts of closing documents in anticipation of

closing on 20 October 2017.

       122.    At no point did Lidl indicate that it would not execute the Second Amendment or

that it did not agree to the terms thereof. Multiple Lidl representatives continued to represent to

Leon that the amendment would be returned to Leon signed by Lidl. On 13 October 2017, Andrew

Gartrell left Leon a voicemail stating:

       I assume you are calling about the amendment. . . What I have heard is that we are going
       to have our guys sign when the closing package is signed on Friday. But as I said I think
       the counterpart signatures allow for the agreement to be in effect as of when you sign it,
       and if you look at the Settlement Statement obviously the Site Development Costs are
       going to be included in that.

       123.    Leon, again relying on Lidl’s promises and assurances, to its detriment, continued

funding work on the Wilmington Development and preparing for closing on the 20th.

       124.    Lidl emailed Leon, just 4 days before the scheduled closing, to request yet another

extension of the closing date. Lidl then followed up this request with calls to officials at Leon

threatening to terminate the deal immediately if Leon did not agree to a 4-week extension.

       125.    On 18 October 2017, Leon, with Lidl’s threat of termination, reluctantly agreed to

grant an extension and sent a proposed Third Amendment to the Wilmington PSA, which proposed



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to extend the outside closing date to 17 November 2017 and included the language of the parties’

prior agreement for Lidl to pay $438,899.21 for Site Work costs on the closing date. Lidl did not

object and agreed to these terms.

          126.   Leon signed the Third Amendment and sent to Lidl for signature on 19 October

2017.

          127.   On 20 October 2017, Leon emailed Lidl to inquire about signature as this was the

date of closing under the Second Amendment, and Conner Bevans, Lidl US Director of Real

Estate, responded by email: “I am working to get it signed at our HQ right now.”

          128.   Leon followed up with Lidl numerous times thereafter inquiring about the

execution of the Third Amendment and received no response until 3 November 2017.

          129.   On 3 November 2017, counsel for Lidl emailed a termination letter of the same date

to Leon (the “Wilmington Termination Letter”) stating that Lidl “hereby exercises its right to

terminate the Agreement [Wilmington PSA] pursuant to Section 8(a)(iii) of the Agreement.”

          130.   Upon information and belief, Lidl was claiming that the City of Wilmington had

not issued its permit for Lidl to proceed with construction of its store; however, Leon contacted

the City of Wilmington and verified that the City had approved all necessary approvals and permits

for Lidl to proceed with construction on the Lidl Wilmington Tract.

          131.   Lidl knowingly terminated the Wilmington PSA, as modified and amended, under

false pretenses which it knew were false at the time it sent Leon the Wilmington Termination

Letter.

          132.   As of the time Lidl had attained all necessary permits and approvals to proceed with

construction of the Lidl store on the Lidl Wilmington Tract, Leon had fulfilled all its obligations




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under its agreements with Lidl and was ready, willing and able to close on each of the agreed upon

outside closing dates set forth in the Amendments.

       133.    Upon information and belief, while Lidl US Ops, Lidl US, and Lidl Management

were making false representations to Leon regarding Lidl’s intent to close and fulfill their promises

to Leon regarding the Wilmington Development, Schwarz Group and Lidl Stiftung knew such

statements were false and were actively planning to terminate Lidl’s agreements with Leon and

intended to not pay any of their share of the costs of the Site Work, including the additional

infrastructure work requested by Lidl.

       134.    To date, Lidl has failed and refused to pay Leon the agreed upon $438,899.21 pro

rata share discussed above.

       135.    Lidl’s abrupt termination, without cause, of its agreements with Leon in relation to

the Wilmington Development has resulted, and will continue to result in substantial losses,

including lost profits, for Leon. Leon must complete the site plan as it was approved and permitted

by City of Wilmington which will include Leon completing the retail and commercial spaces,

including all costs related to the same, components of which likely would not have been included

but for Lidl’s promises and participation in this development. The lack of an anchor Lidl grocery

store will significantly and negatively impact rents and/or sales prices for the retail and commercial

spaces in the Wilmington Development. Additionally, Leon will incur significant increases in

marketing expenses as well as carry expenses to mitigate its damages caused by Lidl.

                                     Charlotte Development

       136.    In early 2016, Lidl also asked Leon to team with Lidl to develop a Lidl grocery

store-anchored retail and commercial center in the fast-growing Steele Creek area of Charlotte,

Mecklenburg County, North Carolina (the “Charlotte Development”).



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       137.    Lidl identified the area of Steele Creek and potential parcels that met its

requirements for its US expansion plan.

       138.    Thereafter, Leon, in reliance on Lidl’s promises regarding its role in the Charlotte

Development, began its work to acquire the property required by Lidl for the Charlotte

Development.

       139.    On or about 18 March 2016, LG Acquisitions entered into three separate purchase

and sale agreements to acquire the necessary real property: (1) the Purchase and Sale Agreement

to acquire 13.1 acres (Meck. Co. Parcel ID 20109107) commonly known as 9501 Steele Creek

Road, Charlotte, NC; (2) the Purchase and Sale Agreement for 0.5 acres (Meck. Co. Parcel ID

20109105) commonly known as 9601 Steele Creek Road, Charlotte, NC; and (3) the Purchase and

Sale Agreement for 1.7 acres (Meck. Co. Parcel ID 20109106) commonly known as 9617 Steele

Creek Road, Charlotte, NC (collectively, the “Steele Creek Property”).

       140.    Once Leon had acquired the rights to purchase the Steele Creek Property, Lidl

modified its Lidl Form PSA for its purchase of a tract of the Steele Creek Property (the “Charlotte

PSA”) consisting of approximately 3.52 acres (the “Lidl Charlotte Tract”).

       141.    LG Acquisitions executed the Charlotte PSA on or about 7 June 2016. Lidl US Ops

executed the Charlotte PSA on or about 8 June 2016.

       142.    The Charlotte PSA included as an exhibit the site plan of the Charlotte

Development which included a large multi-family component that would act as a complement to

the Lidl grocery store and produce traffic. Lidl and Leon worked together to lay out the site plan,

and both understood and agreed that the Lidl grocery store was to anchor and complement the

multi-family component of the Charlotte Development.




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       143.    On or about 2 September 2016, LG Acquisitions and Lidl US Ops executed the

First Amendment to the Charlotte PSA which extended the “Inspection Period” to 30 November

2016, thereby also extending the “Outside Closing Date” to 30 November 2017.

       144.    Lidl, during its work and development for its store of the Lidl Charlotte Tract,

realized that it needed additional acreage for purposes of providing sufficient parking at the

planned store. Lidl requested that Leon provide the additional acreage and rework the site plan

and other applicable plans accordingly.

       145.    On or about 20 October 2016, LG Acquisitions and Lidl US Ops executed the

Second Amendment to the Charlotte PSA which, among other things, expanded the Charlotte Lidl

Tract by approximately .43 acres to a total of approximately 3.95 acres, increased the purchase

price by $298,425, and replaced the original site plan with a modified site plan reflecting the

change in the Charlotte Lidl Tract.

       146.    Thereafter, Leon continued to expend funds in planning and preparing for the

development of the Steele Creek Property, including using its reasonable efforts to obtain all

necessary governmental approvals in relation to the Charlotte Development.

       147.    During this time between 2016 and the outside closing date, Lidl, as it had done

with the other two Developments, misled Leon about the progress and success of its US expansion

plan and its intention to close on the purchase of the Steele Creek Property. Lidl continued to

assure Leon that everything was on track and that Lidl would close on the purchase of the Steele

Creek Property, finalize an SDA, and pay its costs related to the Charlotte Development. All the

while, Lidl knew that it would not, or was likely to not, close on the purchase and construct and

operate a Lidle store thereon.




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       148.     Leading up to the outside closing date of 30 November 2017, Lidl began acting in

a manner that led Leon to reasonably anticipate that Lidl would breach the Charlotte PSA and fail

or refuse to close on its purchase of the Lidl Charlotte Tract or honors its obligations and promises

with regards to the Charlotte Development. Lidl did not appear to be advancing any efforts to

construct and operate a Lidl grocery store in the Charlotte Development. Lidl had, again, failed

and refused to “negotiate in good faith in an effort” to agree upon a form SDA for the Charlotte

Development prior to the expiration of the Inspection Period. Accordingly, to mitigate its mounting

financial losses from Lidl’s actions, Leon waited to close on its purchase of the Steele Creek

Property until Lidl reconfirmed its commitment to the Charlotte Development.

       149.     By October 2017, Lidl’s estimated share of the cost of site work was approximately

$1.4 million.

       150.     To allow Lidl additional time, if needed, to honor its obligations in relation to the

Charlotte Development, and to work out a price reduction for the Steele Creek Property in

connection with the cost of site work, Leon agreed to extend the outside closing date to 31

December 2017 via a Third Amendment to the Charlotte PSA.

       151.     The draft Third Amendment sent to Leon by Lidl included an Exhibit E consisting

of site development specifications for the Lidl Charlotte Tract.

       152.     On 28 November 2017, Leon submitted proposed revisions to the Third

Amendment’s Exhibit E, in response to which Lidl sent a revised Third Amendment, which

provided that, upon execution and transmission by Leon, the Third Amendment would be

enforceable against Leon but not against Lidl. Such provision imitated the same provision present

in the relevant documents relating to the Cary Development and Wilmington Development.




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       153.    In response to inquiry regarding this provision, Lidl stated that such language was

non-negotiable and standard practice for Lidl. Lidl, once again, assured Leon that Lidl had every

intention of closing on its purchase of this property and honoring its agreements related to the

construction and operation of Lidl store thereon.

       154.    In reliance on Lidl’s false representations, on 28 November 2017, Leon signed the

Third Amendment and requested Lidl’s signature to the same.

       155.    On 5 December 2017, Leon contacted Lidl with an update on the Steele Creek

Property, noting that Leon was in discussions with the sellers of the Steele Creek Property to

extend the outside closing date and adjust the sales price as contemplated previously, and that,

once the amendment was completed, Leon was targeting a January resubmittal. In the same email,

Leon requested from Lidl any changes to the current site plan.

       156.    In response to the December 5th email, Lidl thanked Leon for the encouraging

update and noted that its “fingers [were] crossed”, thus misrepresenting to Leon that Lidl sought

to pursue the closing of the Steele Creek Property, and implicitly acquiescing in Leon’s continued

efforts to proceed with the closing of the Steele Creek Property.

       157.    On 4 January 2018, without any notice, counsel for Lidl US served a “Notice of

Default” upon LG Acquisitions and Leon claiming that Leon was in default under the Charlotte

PSA for failing to use “commercially reasonable efforts to obtain the Subdivision, Rezoning and

Master Entitlement Approvals.” However, at all relevant times until Lidl’s anticipatory breach or

repudiation, Leon had used its commercially reasonable efforts to obtain the necessary approvals.

       158.    As a result of Lidl’s termination, without cause, of its agreements related to the

Charlotte Development, Leon has lost the money it had invested in acquiring and developing the




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Charlotte Property as well as its lost profits, sales, rents, and economic opportunities related to the

Charlotte Development.

       159.    Once again, as with the Cary Development and Wilmington Development, Lidl

failed to honor its obligations with the Charlotte Development.

       160.    Throughout its involvement with the Charlotte Development, again as was the case

with the Cary Development and Wilmington Development, Lidl perpetuated a pattern of bad faith,

lies, and deceit in order to induce Leon to rely upon its misrepresentations and continue to pour

funds, resources, and time into a project that Lidl never intended to see come to life.

                                      CAUSES OF ACTION

                                   FIRST CAUSE OF ACTION
                                     (Specific Performance)

       161.    The preceding allegations are restated and incorporated herein by reference.

       162.    The respective Cary PSA, Wilmington PSA, and Charlotte PSA, as modified and

amended (collectively, the Lidl PSAs), are valid and enforceable contracts between the parties.

       163.    The agreement between Lidl and Leon with respect to the site work on the

Wilmington Development (the “Wilmington Site Work Contract”) is a separate, if related, valid

and enforceable express or implied-in-fact contract between the parties.

       164.    The relevant agreements, including the Lidl PSAs and the Wilmington Site Work

Contract, between the parties with regards to the Cary Development, Wilmington Development,

and Charlotte Development (the “Developments”) (collectively, the “Lidl-Leon Contracts”), as

described above, are all valid and enforceable contracts between the parties.

       165.    Lidl, as set forth above, is in breach of the Lidl-Leon Contracts.

       166.    Monetary damages are not adequate to make Leon whole due to the uniqueness of

the real property and the Developments in question. The Lidl Cary Tract, Lidl Wilmington Tract,

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and the Lidl Charlotte Tract (the “Lidl Tracts”) are each unique. Leon, in conjunction with Lidl,

specifically tailored the site plans, layout, infrastructure, marketing, and development for Lidl’s

anchor grocery stores and Lidl’s intended uses.

       167.    Leon has fulfilled all conditions, promises, and covenants to be performed by it, or

is ready, willing, and able to do so, for Lidl to perform all relevant agreements between the parties.

       168.    Upon information and belief, Lidl can perform its obligations under the relevant

agreements between the parties in regard to the Developments.

       169.    Accordingly, Lidl is obligated to specifically perform its obligations under the Lidl-

Leon Contracts, including, without limitation, the purchase of the Lidl Tracts and payment of its

pro rata share of site work and infrastructure costs.

                                 SECOND CAUSE OF ACTION
                                     (Breach of Contract)

       170.    The preceding allegations are restated and incorporated herein by reference.

       171.    If the Court finds that Leon is not entitled to specific performance, Leon seeks

monetary damages for Lidl’s breaches of the respective Lidl-Leon Contracts.

       172.    The Lidl-Leon Contracts are valid and enforceable agreements between the

respective Lidl and Leon entities.

       173.    Lidl breached or wrongfully terminated the Lidl-Leon Contracts as set forth above

and has failed to act in good faith as required by the Lidl-Leon Contracts.

       174.    Leon has incurred significant costs and expenses on behalf of Lidl in acquiring the

real property for the Developments as well as for the necessary planning, zoning, approvals, site

work, infrastructure, and other work and materials necessary for the Developments.




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       175.    As a consequence of Lidl’s breaches, Leon, among other things, has been deprived

of significant economic opportunities, rents, and profits in relation to the Developments. Such

economic opportunities and profits were reasonably foreseeable by Lidl.

       176.    As a further consequence of Lidl’s breaches, the Cary Property, Wilmington

Property, and Steele Creek Property have diminished in fair market value.

       177.    As a further consequence of Lidl’s breaches, Leon will be forced to remarket the

Cary Development and Wilmington Development as well as alter its prior site plans, construction

plans, and infrastructure plans.

       178.    Leon’s damages were foreseeable and in the contemplation and understanding of

the parties at the time they agreed to proceed with plans and agreements related to the

Developments.

       179.    As a direct and proximate result of Lidl’s breaches of the Lidl-Leon Contracts, Leon

has been damaged in an amount in excess of one million dollars ($1,000,000.00).

                               THIRD CAUSE OF ACTION
                  (Breach of the Covenant of Good Faith and Fair Dealing)

       180.    The preceding allegations are restated and incorporated herein by reference.

       181.    Lidl had a duty to act in good faith and fair dealing with regards to the Lidl-Leon

Contracts as well as the Developments.

       182.    Lidl, based on its acts and omissions, as set forth above, failed to act in good faith

and fair dealing and, as such, breached the implied covenant of good faith and fair dealing.

       183.    As a direct and proximate result of Lidl’s breaches of its duties, Leon has been

damaged in an amount in excess of one million dollars ($1,000,000.00).

                                   FOURTH CAUSE OF ACTION
                                    (Negligent Misrepresentation)



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         184.   The preceding allegations are restated and incorporated herein by reference.

         185.   Lidl possessed an affirmative duty to avoid any negligent misrepresentation or

omission of material fact to Leon, particularly as such misrepresentations related to and concerned

the SDAs and/or REAs for the Cary Property, Wilmington Property, and Steele Creek Property

(collectively, the “Properties”), and/or related to and concerned the Developments, all of which

constitutes work that falls outside of the scope of the Cary PSA, Wilmington PSA, and Steele

Creek PSA.

         186.   Lidl breached this duty by failing to exercise reasonable care and competence in

communicating or failing to communicate truthful and accurate information to Leon, as detailed

above.

         187.   More specifically, and without limitation, Lidl negligently made misrepresentations

to Leon as to Lidl’s intent to act as an anchor for the mixed-use centers to be developed on the

Properties; to close on the tracts under the PSAs; its intent to pay its pro rata share of Leon’s costs

for its site work at the Properties; its intent to cover the increased costs of developmental work at

the Properties; its intent to negotiate in good faith and enter into enforceable SDAs and REAs for

the Properties; its intent to develop and operate fully-running grocery stores as part of the mixed-

use centers promised to Leon; and its intent to utilize the site work, infrastructure work, and other

developmental work it requested of Leon.

         188.   Such negligent misrepresentations are set forth in more detail in the Development

specific allegations above.

         189.   Lidl knew or should have known that the information supplied to Leon was false,

particularly in light of Lidl’s knowledge that its ambitious expansion plans were failing across the




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country and Lidl Siftung and/or Schwarz Groupe were actively selecting projects to terminate as

a result.

        190.    Lidl knew or should have known that Leon would rely upon the representations by,

among other things, proceeding with the Developments at the Properties as instructed by Lidl;

continuing to perform site work, infrastructure work and other developmental work at the

Properties, again as instructed by Lidl; continuing to proceed as though enforceable SDAs and

REAs for the Properties would be executed; continuing to incur costs for the site work and

development of the Properties as instructed by Lidl; and engaging and soliciting interest from

third-parties for the purchase or lease of vacant space and for the conducting of other business at

the Properties as part of the overall plan of the Properties.

        191.    In addition, Lidl’s negligent misrepresentations have caused Leon to be deprived

of significant economic opportunities, rents, and profits in relation to the Developments; has

caused a diminution in fair market value of the Properties; and will force Leon to remarket the

Developments.

        192.    In fact, Leon reasonably and justifiably relied on Lidl’s misrepresentations and

omissions to its detriment.

        193.    As a direct and proximate result of Lidl’s negligent representations and/or

omissions, Leon has been damaged in an amount in excess of one million dollars ($1,000,000.00).

        194.    Additionally, Leon is entitled to punitive damages and attorneys’ fees as a result of

the reckless and fraudulent conduct by Lidl, which conduct was also willful and malicious and

caused willful and malicious injury to Leon.

                                  FIFTH CAUSE OF ACTION
                                       (Actual Fraud)

        195.    The preceding allegations are restated and incorporated herein by reference.

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       196.    Upon information and belief, Lidl, while making affirmative promises to get Leon

to expend money, time, and effort on its behalf, had no intention to, among other things, close on

the Properties; act as an anchor for the mixed-use centers to be developed on the Properties; pay

its pro rata share of Leon’s costs for its site work at the Properties; cover the increased costs of

developmental work at the Properties; negotiate in good faith and enter into enforceable SDAs and

REAs for the Properties; develop and operate fully-running grocery stores as part of the mixed-

use centers promised to Leon; or utilize the site work, infrastructure work, and other developmental

work it requested of Leon.

       197.    Upon information and belief, Lidl’s actual intention was to create the appearance

that it was going to proceed with the tasks set forth in the preceding paragraph, so that Leon would

continue to move towards closing on and developing the Properties while Lidl decided which

projects it would terminate in the US expansion plan.

       198.    To accomplish its deceptions, Lidl repeatedly made material misrepresentations

and omissions to Leon, as detailed above, and including, but not limited to:

               a. Misrepresenting that it needed to extend the outside closing dates for the various
                  Properties, on multiple occasions, for various reasons, when, in fact, Lidl only
                  intended to buy time as it decided how to handle its failed entrepreneurial efforts
                  in the United States, and before wrongfully terminating the Lidl-Leon
                  Contracts;

               b. Misrepresenting that Lidl intended to pay its pro rata share of Leon’s costs and
                  any increased costs related to Leon’s site and other developmental work at the
                  Properties;

               c. Misrepresenting that Lidl intended to enter into enforceable SDAs and REAs
                  for the Properties, by sending drafts and revisions back and forth, in order to
                  continue to buy time and create the appearance that it would pursue such
                  developmental plans post-closing;

               d. Misrepresenting its intent to develop and operate fully-running grocery stores
                  as part of the mixed-use centers promised to Leon; and



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                e. In other ways to be proven at the time of trial.

       199.     Lidl’s misrepresentations and omissions were calculated to deceive and, in fact, did

deceive Leon.

       200.     Lidl’s misrepresentations and omissions were material and false, and Lidl knew or

should have known its representations were false when made.

       201.     Lidl intended for Leon to rely upon its statements and representations for Lidl’s

own gain and benefit, and indeed Leon did reasonably and justifiably rely upon Lidl’s

representations.

       202.     Lidl’s fraudulent conduct damaged Leon in that, among other things, Leon incurred

significant costs in continuing to pursue the closing of the Properties; in continuing to perform site

work, infrastructure work, and other developmental work related to the Properties, all at Leon’s

expense; and in continuing to solicit third-parties to move into the adjacent and vacant spaces at

the Properties, all with the expectation and in reliance on the fact that Lidl would anchor the mixed-

use centers and thus draw third-parties to the Properties.

       203.     In addition, Lidl’s fraudulent conduct has caused Leon to be deprived of significant

economic opportunities, rents, and profits in relation to the Developments; has caused a diminution

in fair market value of the Properties; and will force Leon to remarket the Cary Development and

Wilmington Development.

       204.     As a direct and proximate result of Lidl’s fraudulent conduct, Leon has been

damaged in an amount in excess of one million dollars ($1,000,000.00).

       205.     Additionally, Leon is entitled to punitive damages and attorneys’ fees as a result of

the fraudulent conduct by Lidl, which conduct was also willful and malicious and caused willful

and malicious injury to Leon.



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                                 SIXTH CAUSE OF ACTION
                 (Violations of the Unfair and Deceptive Trade Practices Act)

       206.    The preceding allegations are restated and incorporated herein by reference.

       207.    The above-referenced actions of Lidl were in commerce or affected commerce as

set forth and defined in N.C.G.S. § 75-1.1 et seq.

       208.    The above-referenced actions of Lidl constitute unfair and deceptive trade practices

in violation of Chapter 75 of the North Carolina General Statutes, as, among other things, Lidl

acted in a manner that was immoral, unethical, oppressive, had a tendency to deceive, and/or was

substantially injurious to Leon.

       209.    Upon information and belief, Lidl engaged in unfair and deceptive practices by,

among other things, misrepresenting its intent to act as an anchor for the mixed-use centers to be

developed on the Properties; misrepresenting its intent to pay its pro rata share of Leon’s costs for

its site work at the Properties; misrepresenting its intent to cover the increased costs of

developmental work at the Properties; misrepresenting its intent to negotiate in good faith and

enter into enforceable SDAs and REAs for the Properties; misrepresenting its intent to develop

and operate fully-running grocery stores as part of the mixed-use centers promised to Leon;

misrepresenting its intent to utilize the site work, infrastructure work, and other developmental

work it requested of Leon; and misrepresenting that it needed to extend the outside closing dates

for the various Properties, on multiple occasions, for various reasons, when, in fact, Lidl only

intended to buy time as it decided how to handle its failed entrepreneurial efforts in the United

States, and before wrongfully terminating the Lidl-Leon Contracts.

       210.    As a direct and proximate result of Lidl’s unfair and deceptive actions, Leon has

been damaged in an amount in excess of one million dollars ($1,000,000.00).




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       211.     Pursuant to N.C.G.S. § 75-16, Leon is also entitled to recover from Lidl trebled

compensatory damages.

       212.     Pursuant to N.C.G.S. § 75-16.1, Leon is also entitled to recover from Lidl, its

reasonable attorneys’ fees.



                              SEVENTH CAUSE OF ACTION
                (Tortious Interference with Prospective Economic Advantage)

       213.     The preceding allegations are restated and incorporated herein by reference.

       214.     At all times relevant to the facts alleged herein, Leon was pursuing and considering

other contractual relations and economic advantages with various other purchasers, tenants and/or

businesses for inclusion in the Developments.

       215.     Lidl, acting without justification, by unjustifiably backing out of the Development,

induce these third-parties to refrain from entering into contracts with Leon by reneging on the Lidl-

Leon Contracts, thus causing to be deprived of significant economic opportunities, rents, and

profits in relation to the Developments and the prospective economic advantages.

       216.     Lidl acted to gain economic and business advantage at Leon’s expense.

       217.     Such prospective economic advantages would have ensued but for Lidl’s

interference.

       218.     As a direct and proximate result of Lidl’s tortious interference, Leon has been

damaged in an amount in excess of one million dollars ($1,000,000.00).

       219.     Additionally, Leon is entitled to punitive damages and attorneys’ fees as a result of

the conduct by Lidl, which conduct was also willful and malicious and caused willful and

malicious injury to Leon.

                                     PRAYER FOR RELIEF

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       WHEREFORE, Plaintiffs respectfully prays the Court as follows:

       1.       That Defendants be subject to specific performance of the relevant contracts

pursuant to the First Cause of Action;

       2.       That Judgment be entered in favor of Plaintiffs and against Defendants, jointly and

severally, in an amount to be proven at trial pursuant to all Causes of Action;

       3.       That Plaintiffs be awarded punitive damages pursuant to N.C. Gen. Stat. § 1D;

       4.       That Plaintiffs’ compensatory damages be trebled pursuant to N.C. Gen. Stat. § 75-

1.16 on the Sixth Cause of Action;

       5.       That Plaintiffs be awarded their reasonable attorneys’ fees as allowed by law

pursuant to N.C.G.S. § 75-16.1 and as allowed by contract, or for an award of Plaintiffs’ attorneys’

fees to the fullest extent allowed by North Carolina law;

       6.       That the costs of this action be taxed against Defendants, jointly and severally, as

allowed by law;

       7.       For a trial by jury on all factual issues; and

       8.       For such other and further relief as the Court may deem just and proper.



       Dated: 8 June 2018
       Charlotte, North Carolina

                                                Respectfully submitted,


                                                By:   /s/ M. Aaron Lay____________________
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